74 F.3d 1260
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Louis J. FAZEKAS, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent,andMerit Systems Protection Board, Intervenor.
    No. 94-3655.
    United States Court of Appeals, Federal Circuit.
    Jan. 22, 1996.
    
      Before MAYER, Circuit Judge, FRIEDMAN, Senior Circuit Judge, and BRYSON, Circuit Judge.
      PER CURIAM.
    
    
      1
      Louis J. Fazekas petitions for review of a final decision of the Merit Systems Protection Board which dismissed his appeal for lack of jurisdiction.  Bergon v. United States Postal Serv., 64 M.S.P.R. 228 (1994).  We affirm.
    
    
      2
      Fazekas is a nonpreference eligible employee of the United States Postal Service who was demoted during an agency-wide reorganization.  The board found that the reorganization was a reduction-in-force (RIF), and that the agency demoted Fazekas pursuant to that RIF.  The board then dismissed his appeal holding that a nonpreference eligible postal employee has no right of appeal from a RIF action.
    
    
      3
      Fazekas argues that 39 U.S.C. Sec. 1005(a)(4)(A) (1988), gives nonpreference eligible management employees of the Postal Service, such as himself, the right to appeal demotions, and other adverse actions listed in 5 U.S.C. Sec. 7512 (1994), even if the agency acts pursuant to a RIF.  His argument fails for the reasons set out in Schall v. United States Postal Service, No. 94-3644, slip op. at 5-6 (Fed.Cir. Jan. 3, 1996).
    
    